0015-2V-EPIE2V-01076794-1962859
                 Case 14-00798-5-JNC
                                         UnitedDoc
                                                States    Bankruptcy Court
                                                   60 Filed 01/23/18 Entered 01/23/18 14:11:04                                  Page 1 of 2
                                                                      For The
                                               Eastern District of North Carolina Greenville Division
          GARY LEON JOHNSON,SR & SHERON VANTASSLE HARRIS-JOHNSON                                                Case No.: 14-00798-5-JNC
          P.O. BOX 30091                                                                                          SS #1: XXX-XX-1961
          GREENVILLE, NC 27833                                                                                    SS #2: XXX-XX-5545


                                                FINAL REPORT AND ACCOUNT
      This case was          MO. DAY YR.              The Plan was           MO. DAY YR.                   The Case was     MO. DAY YR.
      commenced on                                    confirmed on                                         concluded on
                              02    10   14                                   11    13    14                                   10   07   16
      Dismissed After Confirmation
     Your trustee has maintained a detailed record of all receipts, including the source or other identification of each receipt and
 of all disbursements. Copies of these detailed records have been filed with the Court, or are attached hereto, and are incorporated
 by reference in this report.
 RECEIPTS: Amount paid to the Trustee by or for the Debtor for benefit of creditors.                                     $           29,135.00
DISBURSEMENTS TO CREDITORS                                                                                AMOUNT PAID               BALANCE
                                                     CLAIM                         AMOUNT
                                                                                                                                      DUE
                                  CREDITOR'S NAME   NUMBER CLASSIFICATION          ALLOWED          PRINCIPAL       INTEREST

GARY LEON JOHNSON,SR & SH                             777 Refund                          0.00               0.00           0.00              0.00
ATTORNEY GERERAL                                    ATYGENOther                           0.00               0.00           0.00          Not Filed
EMPLOYMENT SECURITY COMMI                             ESC Other                           0.00               0.00           0.00          Not Filed
INTERNAL REVENUE SERVICE                              IRS Other                           0.00               0.00           0.00          Not Filed
NC DEPT. OF REVENUE                                 NCREV Other                           0.00               0.00           0.00          Not Filed
US ATTORNEY                                         USATTYOther                           0.00               0.00           0.00          Not Filed
CAPITOL CREDIT COMPANY                                008 Secured                     2,722.26           1,881.68         280.36            840.58
PERITUS PORTFOLIO SERVICE                             009 Secured                    21,846.38          15,106.89       2,227.65          6,739.49
CAROLINA FINANCE                                      010 Secured                     4,270.33           4,270.33           0.00              0.00
FURNITURE DISTRIBUTORS                                011 Secured                       849.98             587.54          87.53            262.44
INTERNAL REVENUE SERVICE                              012 Priority                    3,699.71               0.00           0.00          3,699.71
NC DEPT. OF REVENUE                                   013 Priority                    2,800.00               0.00           0.00          2,800.00
DISCOUNT AUTO, INC.                                   014 Unsecured                       0.00               0.00           0.00          Not Filed
ECU PHYSICIANS                                        015 Unsecured                   4,403.16               0.00           0.00          4,403.16
ORTHOPEDIC EAST, INC.                                 016 Unsecured                       0.00               0.00           0.00          Not Filed
VIDANT MEDICAL CENTER                                 017 Unsecured                  26,956.02               0.00           0.00         26,956.02
REBECCA A. LEIGH                                      018 Other                           0.00               0.00           0.00              0.00
CAROLINA FINANCE                                      010 Unsecured                       0.00               0.00           0.00              0.00
RJM ACQUISITIONS FUNDING                              019 Unsecured                      93.02               0.00           0.00             93.02
INTERNAL REVENUE SERVICE                              012 Unsecured                   7,963.02               0.00           0.00          7,963.02
CAR FINANCE CAPITAL                                   020 Other                           0.00               0.00           0.00              0.00
CAVALRY INVESTMENTS LLC                               021 Unsecured                  20,511.27               0.00           0.00         20,511.27
QUANTUM3 GROUP LLC                                    022 Unsecured                     335.82               0.00           0.00            335.82
VIDANT EDGECOMBE HOSPITAL                             023 Unsecured                       0.00               0.00           0.00              0.00
US DEPT OF EDUCATION                                  024 Unsecured                   9,337.08               0.00           0.00          9,337.08
FURNITURE DISTRIBUTORS                                011 Unsecured                     650.02               0.00           0.00            650.02




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                                                             CLAIM                       AMOUNT
                                                                                                                                               DUE
                                   CREDITOR'S NAME          NUMBER CLASSIFICATION        ALLOWED          PRINCIPAL          INTEREST

GARY LEON JOHNSON,SR & SH                                    999    Refund                         0.00             0.00              0.00                0.00

SUMMARY OF CLAIMS ALLOWED AND PAID:

                        SECURED              PRIORITY              GENERAL               LATE             SPECIAL             TOTAL
AMOUNT ALLOWED             29,688.95              6,499.71           70,249.41                  0.00              0.00        106,438.07      TOTAL PAID
                                                                                                                                               PRINCIPAL
 PRINCIPAL PAID            21,846.44                  0.00                0.00                  0.00              0.00         21,846.44     AND INTEREST

  INTEREST PAID              2,595.54                  0.00                 0.00                0.00              0.00          2,595.54          24,441.98
OTHER DISBURSEMENT UNDER ORDER OF COURT
                                     DEBTOR'S ATTORNEY                              FEE ALLOWED                                 FEE PAID

                                  LESLIE LOCKE CRAFT                                      3,465.00                              3,019.66
 COURT COSTS AND                                 ADDITIONAL CHARGES                                TRUSTEE
  OTHER EXPENSES          FILING FEE                                                                                          OTHER
                                                  CLERK'S          .25 EACH CLAIM        EXPENSE          COMPENSATION
 OF ADMINISTRATION       AND DEPOSIT                                                                          FUND
                                                                                                                              COST
                                                 CHARGES               OVER 10            FUND

                                     0.00               0.00                                836.63             836.73              0.00                 1,673.36

       WHEREFORE, your Petitioner prays that a Final Decree be entered discharging your Petitioner as Trustee and releasing your
Petitioner and The Trustee's surety from any and all liability on account of the within proceedings, and closing the estate, and for such
other and further relief as is just. Pursuant to FRBP 5009, I hereby certify that the above captioned case has been fully administered.

Dated: 01/20/2018                                                                               Joseph A. Bledsoe, III, Chapter 13 Trustee
                                                                                                P.O. Box 1618
                                                                                                New Bern, NC 28563




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